                                                                  Case 2:21-cv-06386-AB-AGR Document 21 Filed 12/07/21 Page 1 of 19 Page ID #:148




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                                                                               10                        UNITED STATES DISTRICT COURT

                                                                               11             CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                               12
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                                                                                    TRAYVEYON GONSOULIN,                       CASE NO. 21-CV-06386-AB-AGR
                                        TORRANCE, CALIFORNIA 90503




                                                                               13
                                                                                                                               Hon. Judge Andre Birotte, Jr.
                                                                               14                      Plaintiff,
                                                                               15
                                                                                                v.                             STIPULATED PROTECTIVE
                                                                               16                                              ORDER
                                                                                    DEPUTY JONATHAN TORSNEY;
                                                                               17   DEPUTY VICTOR FELIX-CRUZ,
                                                                                    LOS ANGELES COUNTY, and DOES               Action Filed: August 6, 2021
                                                                               18   1-8, inclusive                             Trial: TBD
                                                                               19
                                                                                                       Defendants.
                                                                               20
                                                                                    1.    A. PURPOSES AND LIMITATIONS
                                                                               21

                                                                               22         Discovery in this action is likely to involve production of confidential,
                                                                               23
                                                                                    proprietary, or private information for which special protection from public
                                                                               24

                                                                               25
                                                                                    disclosure and from use for any purpose other than prosecuting this litigation may

                                                                               26   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
                                                                               27
                                                                                    enter the following Stipulated Protective Order. The parties acknowledge that this
                                                                               28
                                                                                    ______________________________________________________________________________
                                                                                                                         -1-
                                                                                                                STIPULATED PROTECTIVE ORDER
                                                                  Case 2:21-cv-06386-AB-AGR Document 21 Filed 12/07/21 Page 2 of 19 Page ID #:149




                                                                                1   Order does not confer blanket protections on all disclosures or responses to
                                                                                2
                                                                                    discovery and that the protection it affords from public disclosure and use extends
                                                                                3

                                                                                4   only to the limited information or items that are entitled to confidential treatment

                                                                                5   under the applicable legal principles. The parties further acknowledge, as set forth
                                                                                6
                                                                                    in Section 12.3, below, that this Stipulated Protective Order does not entitle them
                                                                                7

                                                                                8   to file confidential information under seal; Civil Local Rule 79-5 sets forth the

                                                                                9   procedures that must be followed and the standards that will be applied when a
                                                                               10
                                                                                    party seeks permission from the court to file material under seal.
                                                                               11
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                                                                               12         B. GOOD CAUSE STATEMENT
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                                                                               13         Good cause exists for entry of this order. Discovery efforts will likely
                                                                               14
                                                                                    involve disclosure of private and confidential information of the parties and of
                                                                               15

                                                                               16   third persons, portions of County policies, documents, personnel records,
                                                                               17   investigative reports, medical records and other information the Parties regard as
                                                                               18
                                                                                    private, and which contain sensitive and personal materials which the parties
                                                                               19

                                                                               20   believe need special protection from public disclosure.
                                                                               21         The documents identified in this Protective Order, which the Parties believe
                                                                               22
                                                                                    in good faith constitute or embody confidential information which the Parties
                                                                               23

                                                                               24   maintain as strictly confidential and are otherwise generally unavailable to the
                                                                               25   public, or which may be privileged or otherwise protected from disclosure under
                                                                               26
                                                                                    state or federal statutes, court rules, case decisions, or common law, are therefore
                                                                               27

                                                                               28   entitled to heightened protection from disclosure. Accordingly, to expedite the
                                                                                    ______________________________________________________________________________
                                                                                                                         -2-
                                                                                                                STIPULATED PROTECTIVE ORDER
                                                                  Case 2:21-cv-06386-AB-AGR Document 21 Filed 12/07/21 Page 3 of 19 Page ID #:150




                                                                                1   flow of information, to facilitate the prompt resolution of disputes over
                                                                                2
                                                                                    confidentiality of discovery materials, to adequately protect information the parties
                                                                                3

                                                                                4   are entitled to keep confidential, to ensure that the parties are permitted reasonable

                                                                                5   necessary uses of such material in preparation for and in the conduct of trial, to
                                                                                6
                                                                                    address their handling at the end of the litigation, and serve the ends of justice, a
                                                                                7

                                                                                8   protective order for such information is justified in this matter. It is the intent of the

                                                                                9   parties that information will not be designated as confidential for tactical reasons
                                                                               10
                                                                                    and that nothing be so designated without a good faith belief that it has been
                                                                               11
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                                                                               12   maintained in a confidential, non-public manner, and there is good cause why it
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                                                                               13   should not be part of the public record of this case.
                                                                               14
                                                                                    2.    DEFINITIONS
                                                                               15

                                                                               16         2.1    Action: This pending federal lawsuit.
                                                                               17         2.2    Challenging Party: A Party or Non-Party that challenges the
                                                                               18
                                                                                    designation of information or items under this Order.
                                                                               19

                                                                               20         2.3    “CONFIDENTIAL” Information or Items: information (regardless of
                                                                               21   how it is generated, stored or maintained) or tangible things that qualify for
                                                                               22
                                                                                    protection under Federal Rule of Civil Procedure 26(c), and as specified above in
                                                                               23

                                                                               24   the Good Cause Statement.
                                                                               25         2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
                                                                               26
                                                                                    their support staff), including Plaintiff Pro Per.
                                                                               27

                                                                               28
                                                                                    ______________________________________________________________________________
                                                                                                                         -3-
                                                                                                                 STIPULATED PROTECTIVE ORDER
                                                                  Case 2:21-cv-06386-AB-AGR Document 21 Filed 12/07/21 Page 4 of 19 Page ID #:151




                                                                                1         2.5    Designating Party: A Party or Non-Party that designates information
                                                                                2
                                                                                    or items that it produces in disclosures or in responses to discovery as
                                                                                3

                                                                                4   “CONFIDENTIAL.”

                                                                                5         2.6    Disclosure or Discovery Material: all items or information, regardless
                                                                                6
                                                                                    of the medium or manner in which it is generated, stored, or maintained (including,
                                                                                7

                                                                                8   among other things, testimony, transcripts, and tangible things), that are produced

                                                                                9   or generated in disclosures or responses to discovery in this matter.
                                                                               10
                                                                                          2.7    Expert: a person with specialized knowledge or experience in a matter
                                                                               11
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                                                                               12   pertinent to the litigation who has been retained by a Party or its counsel to serve
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                                                                               13   as an expert witness or as a consultant in this Action.
                                                                               14
                                                                                          2.8    House Counsel: attorneys who are employees of a party to this Action.
                                                                               15

                                                                               16   House Counsel does not include Outside Counsel of Record or any other outside
                                                                               17   counsel.
                                                                               18
                                                                                          2.9    Non-Party: any natural person, partnership, corporation, association,
                                                                               19

                                                                               20   or other legal entity not named as a Party to this action.
                                                                               21         2.10 Outside Counsel of Record: attorneys who are not employees of a
                                                                               22
                                                                                    party to this Action but are retained to represent or advise a party to this Action
                                                                               23

                                                                               24   and have appeared in this Action on behalf of that party or are affiliated with a law
                                                                               25   firm which has appeared on behalf of that party and includes support staff.
                                                                               26
                                                                                          //
                                                                               27

                                                                               28         //
                                                                                    ______________________________________________________________________________
                                                                                                                         -4-
                                                                                                                STIPULATED PROTECTIVE ORDER
                                                                  Case 2:21-cv-06386-AB-AGR Document 21 Filed 12/07/21 Page 5 of 19 Page ID #:152




                                                                                1          2.11 Party: any party to this Action, including all of its officers, directors,
                                                                                2
                                                                                    board, departments, divisions, employees, consultants, retained experts, and
                                                                                3

                                                                                4   Outside Counsel of Record (and their support staff).

                                                                                5          2.12 Producing Party: A Party or Non-Party that produces Disclosure or
                                                                                6
                                                                                    Discovery Material in this Action.
                                                                                7

                                                                                8          2.13 Professional Vendors: persons or entities that provide litigation

                                                                                9   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
                                                                               10
                                                                                    demonstrations, and organizing, storing, or retrieving data in any form or medium)
                                                                               11
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                                                                               12   and their employees and subcontractors.
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                                                                               13          2.14 Protected Material: any Disclosure or Discovery Material that is
                                                                               14
                                                                                    designated as “CONFIDENTIAL.”
                                                                               15

                                                                               16          2.15 Receiving Party: A Party that receives Disclosure or Discovery
                                                                               17   Material from a Producing Party.
                                                                               18
                                                                                    3.     SCOPE
                                                                               19

                                                                               20          The protections conferred by this Stipulation and Order cover not only
                                                                               21   Protected Material (as defined above), but also (1) any information copied or
                                                                               22
                                                                                    extracted from Protected Material; (2) all copies, excerpts, summaries, or
                                                                               23

                                                                               24   compilations of Protected Material; and (3) any testimony, conversations, or
                                                                               25   presentations by Parties or their Counsel that might reveal Protected Material.
                                                                               26
                                                                                           Any use of Protected Material at trial shall be governed by the orders of the
                                                                               27

                                                                               28   trial judge.
                                                                                    ______________________________________________________________________________
                                                                                                                         -5-
                                                                                                                STIPULATED PROTECTIVE ORDER
                                                                  Case 2:21-cv-06386-AB-AGR Document 21 Filed 12/07/21 Page 6 of 19 Page ID #:153




                                                                                1          This Order does not govern the use of Protected Material at trial.
                                                                                2
                                                                                    4.    DURATION
                                                                                3

                                                                                4         Even after final disposition of this litigation, the confidentiality obligations

                                                                                5   imposed by this Order shall remain in effect until a Designating Party agrees
                                                                                6
                                                                                    otherwise in writing or a court order otherwise directs. Final disposition shall be
                                                                                7

                                                                                8   deemed to be the later of (1) dismissal of all claims and defenses in this Action,

                                                                                9   with or without prejudice; and (2) final judgment herein after the completion and
                                                                               10
                                                                                    exhaustion of all appeals, rehearing, remands, trials, or reviews of this Action,
                                                                               11
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                                                                               12   including the time limits for filing any motions or applications for extension of
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                                                                               13   time pursuant to applicable law.
                                                                               14
                                                                                    5.    DESIGNATING PROTECTED MATERIAL
                                                                               15

                                                                               16         5.1    Exercise of Restraint and Care in Designating Material for Protection.
                                                                               17         Each Party or Non-Party that designates information or items for protection
                                                                               18
                                                                                    under this Order must take care to limit any such designation to specific material
                                                                               19

                                                                               20   that qualifies under the appropriate standards. The Designating Party must
                                                                               21   designate for protection only those parts of material, documents, items, or oral or
                                                                               22
                                                                                    written communications that qualify so that other portions of the material,
                                                                               23

                                                                               24   documents, items, or communications for which protection is not warranted are not
                                                                               25   swept unjustifiably within the ambit of this Order.
                                                                               26
                                                                                           Mass,    indiscriminate,    or   routinized    designations   are    prohibited.
                                                                               27

                                                                               28   Designations that are shown to be clearly unjustified or that have been made for an
                                                                                    ______________________________________________________________________________
                                                                                                                         -6-
                                                                                                               STIPULATED PROTECTIVE ORDER
                                                                  Case 2:21-cv-06386-AB-AGR Document 21 Filed 12/07/21 Page 7 of 19 Page ID #:154




                                                                                1   improper purpose (e.g., to unnecessarily encumber the case development process
                                                                                2
                                                                                    or to impose unnecessary expenses and burdens on other parties) may expose the
                                                                                3

                                                                                4   Designating Party to sanctions.

                                                                                5         If it comes to a Designating Party’s attention that information or items that it
                                                                                6
                                                                                    designated for protection do not qualify for protection, that Designating Party must
                                                                                7

                                                                                8   promptly notify all other Parties that it is withdrawing the inapplicable designation.

                                                                                9         5.2    Manner and Timing of Designations. Except as otherwise provided in
                                                                               10
                                                                                    this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
                                                                               11
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                                                                               12   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
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                                                                               13   under this Order must be clearly so designated before the material is disclosed or
                                                                               14
                                                                                    produced.
                                                                               15

                                                                               16         Designation in conformity with this Order requires:
                                                                               17         (a)    for information in documentary form (e.g., paper or electronic
                                                                               18
                                                                                    documents, but excluding transcripts of depositions or other pretrial or trial
                                                                               19

                                                                               20   proceedings), that the Producing Party affix at a minimum, the legend
                                                                               21   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
                                                                               22
                                                                                    contains protected material. The legend must not obstruct a Party’s ability to view
                                                                               23

                                                                               24   the contents of that document. If only a portion or portions of the material on a
                                                                               25   page qualifies for protection, the Producing Party also must clearly identify the
                                                                               26
                                                                                    protected portion(s) (e.g., by making appropriate markings in the margins).
                                                                               27

                                                                               28
                                                                                    ______________________________________________________________________________
                                                                                                                         -7-
                                                                                                                STIPULATED PROTECTIVE ORDER
                                                                  Case 2:21-cv-06386-AB-AGR Document 21 Filed 12/07/21 Page 8 of 19 Page ID #:155




                                                                                1         A Party or Non-Party that makes original documents available for inspection
                                                                                2
                                                                                    need not designate them for protection until after the inspecting Party has indicated
                                                                                3

                                                                                4   which documents it would like copied and produced. During the inspection and

                                                                                5   before the designation, all of the material made available for inspection shall be
                                                                                6
                                                                                    deemed “CONFIDENTIAL.” After the inspecting Party has identified the
                                                                                7

                                                                                8   documents, it wants copied and produced, the Producing Party must determine

                                                                                9   which documents, or portions thereof, qualify for protection under this Order.
                                                                               10
                                                                                    Then, before producing the specified documents, the Producing Party must affix
                                                                               11
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                                                                               12   the “CONFIDENTIAL legend” to each page that contains Protected Material. If
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                                                                               13   only a portion or portions of the material on a page qualifies for protection, the
                                                                               14
                                                                                    Producing Party also must clearly identify the protected portion(s) (e.g., by making
                                                                               15

                                                                               16   appropriate markings in the margins).
                                                                               17         (b)    for testimony given in depositions that the Designating Party identify
                                                                               18
                                                                                    the Disclosure or Discovery Material on the record, before the close of the
                                                                               19

                                                                               20   deposition all protected testimony.
                                                                               21         (c)    for information produced in some form other than documentary and
                                                                               22
                                                                                    for any other tangible items, that, at a minimum, the Producing Party affix in a
                                                                               23

                                                                               24   prominent place on the exterior of the container or containers in which the
                                                                               25   information is stored the legend “CONFIDENTIAL.” If only a portion or portions
                                                                               26
                                                                                    of the information warrants protection, the Producing Party, to the extent
                                                                               27

                                                                               28   practicable, shall identify the protected portion(s).
                                                                                    ______________________________________________________________________________
                                                                                                                         -8-
                                                                                                                 STIPULATED PROTECTIVE ORDER
                                                                  Case 2:21-cv-06386-AB-AGR Document 21 Filed 12/07/21 Page 9 of 19 Page ID #:156




                                                                                1         5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent
                                                                                2
                                                                                    failure to designate qualified information or items does not, standing alone, waive
                                                                                3

                                                                                4   the Designating Party’s right to secure protection under this Order for such

                                                                                5   material. Upon timely correction of a designation, the Receiving Party must make
                                                                                6
                                                                                    reasonable efforts to assure that the material is treated in accordance with the
                                                                                7

                                                                                8   provisions of this Order.

                                                                                9   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
                                                                               10
                                                                                          6.1    Timing of Challenges. Any Party or Non-Party may challenge a
                                                                               11
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                                                                               12   designation of confidentiality at any time that is consistent with the Court’s
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                                                                               13   Scheduling Order.
                                                                               14
                                                                                          6.2    Meet and Confer. The Challenging Party shall initiate the dispute
                                                                               15

                                                                               16   resolution process under Local Rule 37.1 et seq.
                                                                               17         6.3    The burden of persuasion in any such challenge proceeding shall be
                                                                               18
                                                                                    on the Designating Party. Frivolous challenges, and those made for an improper
                                                                               19

                                                                               20   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
                                                                               21   parties) may expose the Challenging Party to sanctions. Unless the designating
                                                                               22
                                                                                    Party has waived or withdrawn the confidentiality designation, all parties shall
                                                                               23

                                                                               24   continue to afford the material in question the level of protection to which it is
                                                                               25   entitled under the Producing Party’s designation until the court rules on the
                                                                               26
                                                                                    challenge.
                                                                               27

                                                                               28   //
                                                                                    ______________________________________________________________________________
                                                                                                                         -9-
                                                                                                                STIPULATED PROTECTIVE ORDER
                                                             Case 2:21-cv-06386-AB-AGR Document 21 Filed 12/07/21 Page 10 of 19 Page ID #:157




                                                                                1   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
                                                                                2
                                                                                          7.1    Basic Principles. A Receiving Party may use Protected Material that is
                                                                                3

                                                                                4   disclosed or produced by another Party or by a Non-Party in connection with this

                                                                                5   Action only for prosecuting, defending, or attempting to settle this Action. Such
                                                                                6
                                                                                    Protected Material may be disclosed only to the categories of persons and under
                                                                                7

                                                                                8   the conditions described in this Order. When the Action has been terminated, a

                                                                                9   Receiving Party must comply with the provisions of section 13 below (FINAL
                                                                               10
                                                                                    DISPOSITION).
                                                                               11
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                                                                               12         Protected Material must be stored and maintained by a Receiving Party at a
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                                                                               13   location and in a secure manner that ensures that access is limited to the persons
                                                                               14
                                                                                    authorized under this Order.
                                                                               15

                                                                               16         7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
                                                                               17   otherwise ordered by the court or permitted in writing by the Designating Party, a
                                                                               18
                                                                                    Receiving    Party   may       disclose   any   information   or   item   designated
                                                                               19

                                                                               20   “CONFIDENTIAL” only to:
                                                                               21         (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
                                                                               22
                                                                                    as employees of said Outside Counsel of Record to whom it is reasonably
                                                                               23

                                                                               24   necessary to disclose the information for this Action;
                                                                               25         (b) the officers, directors, and employees (including House Counsel) of the
                                                                               26
                                                                                    Receiving Party to whom disclosure is reasonably necessary for this Action;
                                                                               27

                                                                               28
                                                                                    ______________________________________________________________________________
                                                                                                                         - 10 -
                                                                                                                STIPULATED PROTECTIVE ORDER
                                                             Case 2:21-cv-06386-AB-AGR Document 21 Filed 12/07/21 Page 11 of 19 Page ID #:158




                                                                                1         (c) Experts (as defined in this Order) of the Receiving Party to whom
                                                                                2
                                                                                    disclosure is reasonably necessary for this Action and who have signed the
                                                                                3

                                                                                4   “Acknowledgment and Agreement to Be Bound” (Exhibit A);

                                                                                5         (d) the court and its personnel;
                                                                                6
                                                                                          (e) court reporters and their staff;
                                                                                7

                                                                                8         (f) professional jury or trial consultants, mock jurors, and Professional

                                                                                9   Vendors to whom disclosure is reasonably necessary for this Action and who have
                                                                               10
                                                                                    signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                                                                               11
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                                                                               12         (g) the author or recipient of a document containing the information or a
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                                                                               13   custodian or other person who otherwise possessed or knew the information;
                                                                               14
                                                                                          (h) during their depositions, witnesses, and attorneys for witnesses, in the
                                                                               15

                                                                               16   Action to whom disclosure is reasonably necessary provided: (1) the deposing
                                                                               17   party requests that the witness sign the “Acknowledgment and Agreement to Be
                                                                               18
                                                                                    Bound” form attached as Exhibit A hereto; and (2) they will not be permitted to
                                                                               19

                                                                               20   keep any confidential information unless they sign the “Acknowledgment and
                                                                               21   Agreement to Be Bound” (Exhibit A), unless otherwise agreed by the Designating
                                                                               22
                                                                                    Party or ordered by the court. Pages of transcribed deposition testimony or exhibits
                                                                               23

                                                                               24   to depositions that reveal Protected Material may be separately bound by the court
                                                                               25   reporter and may not be disclosed to anyone except as permitted under this
                                                                               26
                                                                                    Stipulated Protective Order; and
                                                                               27

                                                                               28
                                                                                    ______________________________________________________________________________
                                                                                                                         - 11 -
                                                                                                                STIPULATED PROTECTIVE ORDER
                                                             Case 2:21-cv-06386-AB-AGR Document 21 Filed 12/07/21 Page 12 of 19 Page ID #:159




                                                                                1         (i) any mediator or settlement officer, and their supporting personnel,
                                                                                2
                                                                                    mutually agreed upon by any of the parties engaged in settlement discussions.
                                                                                3

                                                                                4   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED

                                                                                5   IN OTHER LITIGATION
                                                                                6
                                                                                          If a Party is served with a subpoena or a court order issued in other litigation
                                                                                7

                                                                                8   that compels disclosure of any information or items designated in this Action as

                                                                                9   “CONFIDENTIAL,” that Party must:
                                                                               10
                                                                                          (a)    promptly notify in writing the Designating Party. Such notification
                                                                               11
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                                                                               12   shall include a copy of the subpoena or court order;
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                                                                               13         (b)    promptly notify in writing the party who caused the subpoena or order
                                                                               14
                                                                                    to issues in the other litigation that some or all of the material covered by the
                                                                               15

                                                                               16   subpoena or order is subject to this Protective Order. Such notification shall
                                                                               17   include a copy of this Stipulated Protective Order; and
                                                                               18
                                                                                          (c)    cooperate with respect to all reasonable procedures south to be
                                                                               19

                                                                               20   pursued by the Designating Party whose Protected Material may be affected.
                                                                               21         If the Designating Party timely seeks a protective order, the Party served
                                                                               22
                                                                                    with the subpoena or court order shall not produce any information designated in
                                                                               23

                                                                               24   this action as “CONFIDENTIAL” before a determination by the court from which
                                                                               25   the subpoena or order issued, unless the Party has obtained the Designating Party’s
                                                                               26
                                                                                    permission. The Designating Party shall bear the burden and expense of seeking
                                                                               27

                                                                               28   protection in that court of its confidential material and nothing in these provisions
                                                                                    ______________________________________________________________________________
                                                                                                                         - 12 -
                                                                                                               STIPULATED PROTECTIVE ORDER
                                                             Case 2:21-cv-06386-AB-AGR Document 21 Filed 12/07/21 Page 13 of 19 Page ID #:160




                                                                                1   should be construed as authorizing or encouraging a Receiving Party in this Action
                                                                                2
                                                                                    to disobey a lawful directive from another court.
                                                                                3

                                                                                4   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE

                                                                                5   PRODUCED IN THIS LITIGATION
                                                                                6
                                                                                          (a)     The terms of this Order are applicable to information produced by a
                                                                                7

                                                                                8   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information

                                                                                9   produced by Non-Parties in connection with this litigation is protected by the
                                                                               10
                                                                                    remedies and relief provided by this Order. Nothing in these provisions should be
                                                                               11
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                                                                               12   construed as prohibiting a Non-Party from seeking additional protections.
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                                                                               13         (b)     In the event that a Party is required, by a valid discovery request, to
                                                                               14
                                                                                    produce a Non-Party’s confidential information in its possession, and the Party is
                                                                               15

                                                                               16   subject to an agreement with the Non-Party not to produce the Non-Party’s
                                                                               17   confidential information, then the Party shall:
                                                                               18
                                                                                                  (1)   promptly notify in writing the Requesting Party and the Non-
                                                                               19

                                                                               20         Party
                                                                               21   that some or all of the information requested is subject to a confidentiality
                                                                               22
                                                                                    agreement with a Non-Party;
                                                                               23

                                                                               24                 (2)   promptly provide the Non-Party with a copy of the Stipulated
                                                                               25   Protective Order in this Action, the relevant discovery request(s), and a reasonably
                                                                               26
                                                                                    specific description of the information requested; and
                                                                               27

                                                                               28
                                                                                    ______________________________________________________________________________
                                                                                                                         - 13 -
                                                                                                                 STIPULATED PROTECTIVE ORDER
                                                             Case 2:21-cv-06386-AB-AGR Document 21 Filed 12/07/21 Page 14 of 19 Page ID #:161




                                                                                1                (3)   make the information requested available for inspection by the
                                                                                2
                                                                                                 Non-Party, if requested.
                                                                                3

                                                                                4         (c)    If the Non-Party fails to seek a protective order from this court within

                                                                                5   14 days of receiving the notice and accompanying information, the Receiving
                                                                                6
                                                                                    Party may produce the Non-Party’s confidential information responsive to the
                                                                                7

                                                                                8   discovery request. If the Non-Party timely seeks a protective order, the Receiving

                                                                                9   Party shall not produce any information in its possession or control that is subject
                                                                               10
                                                                                    to the confidentiality agreement with the Non-Party before a determination by the
                                                                               11
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                                                                               12   court. Absent a court order to the contrary, the Non-Party shall bear the burden and
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                                                                               13   expense of seeking protection in this court of its Protected Material.
                                                                               14
                                                                                    10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL.
                                                                               15

                                                                               16         If a Receiving Party learns that, by inadvertence or otherwise, it has
                                                                               17   disclosed Protected Material to any person or in any circumstance not authorized
                                                                               18
                                                                                    under this Stipulated Protective Order, the Receiving Party must immediately (a)
                                                                               19

                                                                               20   notify in writing the Designating Party of the unauthorized disclosures, (b) use its
                                                                               21   best efforts to retrieve all unauthorized copies of the Protected Material, (c) inform
                                                                               22
                                                                                    the person or persons to whom unauthorized disclosures were made of all the terms
                                                                               23

                                                                               24   of this Order, and (d) request such person or persons to execute the
                                                                               25   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit
                                                                               26
                                                                                    A.
                                                                               27

                                                                               28
                                                                                    ______________________________________________________________________________
                                                                                                                         - 14 -
                                                                                                                STIPULATED PROTECTIVE ORDER
                                                             Case 2:21-cv-06386-AB-AGR Document 21 Filed 12/07/21 Page 15 of 19 Page ID #:162




                                                                                1   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
                                                                                2
                                                                                    PROTECTED MATERIAL.
                                                                                3

                                                                                4         When a Producing Party gives notice to Receiving Parties that certain

                                                                                5   inadvertently produced material is subject to a claim of privilege or other
                                                                                6
                                                                                    protection, the obligations of the Receiving Parties are those set forth in Federal
                                                                                7

                                                                                8   Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify

                                                                                9   whatever procedure may be established in an e-discovery order that provides for
                                                                               10
                                                                                    production without prior privilege review. Pursuant to Federal Rule of Evidence
                                                                               11
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                                                                               12   502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure
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                                                                               13   of a communication or information covered by the attorney-client privilege or
                                                                               14
                                                                                    work product protection, the parties may incorporate their agreement in the
                                                                               15

                                                                               16   stipulated protective order submitted to the court.
                                                                               17   12.   MISCELLANEOUS
                                                                               18
                                                                                          12.1 Right to Further Relief. Nothing in this Order abridges the right of any
                                                                               19

                                                                               20   person to seek its modification by the Court in the future.
                                                                               21         12.2 Right to Assert Other Objections. By stipulating to the entry of this
                                                                               22
                                                                                    Protective Order no Party waives any right it otherwise would have to object to
                                                                               23

                                                                               24   disclosing or producing any information or item on any ground not addressed in
                                                                               25   this Stipulated Protective Order. Similarly, no Party waives any right to object on
                                                                               26
                                                                                    any ground to use in evidence of any of the material covered by this Protective
                                                                               27

                                                                               28   Order.
                                                                                    ______________________________________________________________________________
                                                                                                                         - 15 -
                                                                                                                STIPULATED PROTECTIVE ORDER
                                                             Case 2:21-cv-06386-AB-AGR Document 21 Filed 12/07/21 Page 16 of 19 Page ID #:163




                                                                                1         12.3 Filing Protected Material. A Party that seeks to file under seal any
                                                                                2
                                                                                    Protected Material must comply with Civil Local Rule 79-5. Protected Material
                                                                                3

                                                                                4   may only be filed under seal pursuant to a court order authorizing the sealing of the

                                                                                5   specific Protected Material at issue. If a Party's request to file Protected Material
                                                                                6
                                                                                    under seal is denied by the court, then the Receiving Party may file the information
                                                                                7

                                                                                8   in the public record unless otherwise instructed by the court.

                                                                                9   13.   FINAL DISPOSITION.
                                                                               10
                                                                                          After the final disposition of this Action (as defined in paragraph 4), within
                                                                               11
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                                                                               12   60 days of a written request by the Designating Party, or another period of time
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                                                                               13   agreed upon by the parties, each Receiving Party must return all Protected Material
                                                                               14
                                                                                    to the Producing Party or destroy such material. As used in this subdivision, “all
                                                                               15

                                                                               16   Protected Material” includes all copies, abstracts, compilations, summaries, and
                                                                               17   any other format reproducing or capturing any of the Protected Material. Whether
                                                                               18
                                                                                    the Protected Material is returned or destroyed, the Receiving Party must submit a
                                                                               19

                                                                               20   written certification to the Producing Party (and, if not the same person or entity, to
                                                                               21   the Designating Party) by the 60 day or agreed upon deadline that (1) identifies (by
                                                                               22
                                                                                    category, where appropriate) all the Protected Material that was returned or
                                                                               23

                                                                               24   destroyed and (2) affirms that the Receiving Party has not retained any copies,
                                                                               25   abstracts, compilations, summaries or any other format reproducing or capturing
                                                                               26
                                                                                    any of the Protected Material. Notwithstanding this provision, Counsel is entitled
                                                                               27

                                                                               28   to retain an archival copy of all pleadings, motion papers, trial, deposition, and
                                                                                    ______________________________________________________________________________
                                                                                                                         - 16 -
                                                                                                                STIPULATED PROTECTIVE ORDER
Case 2:21-cv-06386-AB-AGR Document 21 Filed 12/07/21 Page 17 of 19 Page ID #:164
                                                             Case 2:21-cv-06386-AB-AGR Document 21 Filed 12/07/21 Page 18 of 19 Page ID #:165




                                                                                1                                       EXHIBIT A
                                                                                2
                                                                                           ACKNOWLEDGEMENT AND AGREEMENT TO BE BOUND
                                                                                3

                                                                                4   I, __________________________ [print or type full name], of

                                                                                5   _________________ [print or type full address], declare under penalty of perjury
                                                                                6
                                                                                    that I have read in its entirety and understand the Stipulated Protective Order that
                                                                                7

                                                                                8   was issued by the United States District Court for the Central District of California

                                                                                9   on _______________ in the case of Trayveyon Gonsoulin v. Jonathan Torsney, et.
                                                                               10
                                                                                    al., Case No. 2:21-cv-06386 CAS(AGRx).
                                                                               11
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                                                                               12         I agree to comply with and to be bound by all the terms of this Stipulated
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                                                                               13   Protective Order and I understand and acknowledge that failure to so comply could
                                                                               14
                                                                                    expose me to sanctions and punishment in the nature of contempt. I solemnly
                                                                               15

                                                                               16   promise that I will not disclose in any manner any information or item that is
                                                                               17   subject to this Stipulated Protective Order to any person or entity except in strict
                                                                               18
                                                                                    compliance with the provisions of this Order.
                                                                               19

                                                                               20         I further agree to submit to the jurisdiction of the United States District
                                                                               21   Court for the Central District of California for the purpose of enforcing the terms
                                                                               22
                                                                                    of this Stipulated Protective Order, even if such enforcement proceedings occur
                                                                               23

                                                                               24   after termination of this action.
                                                                               25         I hereby appoint _______________[print or type full name] of
                                                                               26
                                                                                    _________________________ [print or type full address and telephone number]
                                                                               27

                                                                               28
                                                                                    ______________________________________________________________________________
                                                                                                                         - 18 -
                                                                                                                 STIPULATED PROTECTIVE ORDER
                                                             Case 2:21-cv-06386-AB-AGR Document 21 Filed 12/07/21 Page 19 of 19 Page ID #:166




                                                                                1   as my California agent for service of process in connection with this action or any
                                                                                2
                                                                                    proceedings related to enforcement of this Stipulated Protective Order.
                                                                                3

                                                                                4   Date: __________

                                                                                5   City and State where sworn and signed: _____________________
                                                                                6
                                                                                    Printed name and signature: _______________________________
                                                                                7

                                                                                8

                                                                                9

                                                                               10

                                                                               11
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                                                                               12
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                                                                               13

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                                                                                    ______________________________________________________________________________
                                                                                                                         - 19 -
                                                                                                               STIPULATED PROTECTIVE ORDER
